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     The J. M. Smucker Company
11

12                                UNITED STATES DISTRICT COURT

13                               NORTHERN DISTRICT OF CALIFORNIA

14

15    MOLLY BROWN, as an individual, on behalf of         Case No. 4:21-cv-06467-HSG
16    herself, the general public and those similarly
      situated,                                           DEFENDANT’S NOTICE OF
                                                          SUPPLEMENTAL AUTHORITY;
17                                                        DECLARATION OF ALEXANDRA
                    Plaintiff,                            AURISCH
18
             v.                                           Judge: Haywood S. Gilliam, Jr.
19
      THE J. M. SMUCKER COMPANY,                          Date:    March 10, 2022
20                                                        Time:    2:00 p.m.
                                                          Place:   Courtroom 2
21                  Defendant.
                                                          Complaint Filed: August 20, 2021
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                                 DEFENDANT’S NOTICE OF SUPPLEMENTAL AUTHORITY
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 1          In support of defendant The J.M. Smucker Company (“Defendant”)’s Motion to Dismiss, set
 2   for hearing on March 10, 2022, Defendant brings to the Court’s attention guidance published by the
 3   Food and Drug Administration in January 2022. (See Declaration of Alexandra C. Aurisch, or
 4   “Aurisch Decl.” ¶ 3-4.) That guidance, available at https://www.fda.gov/food/food-labeling-
 5   nutrition/industry-resources-changes-nutrition-facts-label#LabelClaims, provides the following, in
 6   the section entitled “Label Claims:”
 7          There are separate methods for determining the number of grams of protein
            in a serving for declaration on the Nutrition Facts label and for determining
 8          the percent Daily Value of protein for the Nutrition Facts label (21 CFR
            101.9(c)(7)). Which method should be used when calculating protein values
 9          for use in protein nutrient content claims?
10          The regulation for nutrient content claims in 21 CFR 101.13(o) states that, except
            as provided in 21 CFR 101.10, compliance with requirements for nutrient content
11          claims in this section and in the regulation in subpart D of this part, will be
            determined using the analytical methodology prescribed for determining
12          compliance with nutrition labeling in 21 CFR 101.9.
13          By design, 21 CFR 101.9(c)(7) specifically provides for two different methods for
            determining protein values. The regulation states, in 21 CFR 101.9(c)(7), that
14          protein content may be calculated on the basis of the factor 6.25 times the
            nitrogen content of the food as determined by the appropriate method of analysis
15          as given in the “Official Methods of Analysis of the AOAC International,” except
            that when official AOAC procedures described in 21 CFR 101.9(c)(7) require a
16          specific factor other than 6.25, that specific factor shall be used. Additionally, 21
            CFR 101.9(c)(7)(ii) provides the method for determining protein content using the
17          protein digestibility-corrected amino acid score for use in calculating the percent
            Daily Value.
18
            Determination of compliance for protein nutrient content claims will be based on
19          the use of the methods provided in 21 CFR 101.9(c)(7), including either of the
            methods mentioned above.
20
     (emphasis added). (Aurisch Decl. ¶ 3).
21

22   Dated: January 27, 2022                      WINSTON & STRAWN LLP

23
                                                  By: /s/ Alexandra C. Aurisch
24
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 7                                           The J. M. Smucker Company
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 1                           DECLARATION OF ALEXANDRA C. AURISCH
 2          I, Alexandra Aurisch, declare and state as follows:
 3          1.      I am a lawyer and associate with the firm Winston & Strawn, LLP. I am admitted to
 4   practice law in the State of California and am admitted in the United States District Court for the
 5   Central District, Northern District, Southern District, and Eastern District of California. I am acting
 6   as legal counsel to defendant The J.M. Smucker Company (“Defendant”).
 7          2.      As a result of my experience and responsibilities in this litigation, I have personal
 8   knowledge of the facts stated in this declaration, and if called to testify, I could and would testify
 9   competently about the information set forth in this declaration. I am over eighteen years of age and
10   competent to give this statement based on my personal knowledge, information, and belief.
11          3.      On January 19, 2022, I accessed the website https://www.fda.gov/food/food-labeling-
12   nutrition/industry-resources-changes-nutrition-facts-label#LabelClaims. Attached to this Declaration
13   as Exhibit B is a true and correct copy of this webpage.
14          4.      On January 19, 2022, using The Wayback Machine, I located a version of the website
15   referenced in Paragraph 3 as it appeared on January 7, 2022, and is available at:
16   https://web.archive.org/web/20220107033710/https://www.fda.gov/food/food-labeling-
17   nutrition/industry-resources-changes-nutrition-facts-label. Attached to this Declaration as Exhibit C
18   is a true and correct copy of this webpage.
19          I declare under penalty of perjury under the laws of the State of California and the United
20   States of America that the foregoing is true and correct.
21          Executed on January 27, 2022 in Los Angeles, California.
22                                                  /s/ Alexandra Aurisch
                                                          Alexandra Aurisch
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